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Counsel for Plaintiff,
ROBERT MILLER


                         UNITED STATES DISTRICT COURT
                               DISTRICT OF UTAH

 ROBERT MILLER,                               Case No. 2:20-cv-00780-TC

                           Plaintiff,         COMPLAINT FOR DAMAGES AND
                                              INJUNCTIVE RELIEF
 v.                                           DEMAND FOR JURY TRIAL

 KARMAHOLIC MEDIA, LLC; and
 DOES 1 through 10 inclusive,

                           Defendants.




        Plaintiff, Robert Miller (“Miller” or “Plaintiff”), for his complaint against

 Karmaholic Media, LLC (“KM” or “Defendant”), and DOES 1 through 10,

 inclusive (collectively “Defendants”), alleges as follows:

                            JURISDICTION AND VENUE

        1.    This is a civil action seeking damages and injunctive relief for

 copyright infringement under the Copyright Act of the United States, 17 U.S.C. §


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101 et seq.

      2.      This Court has subject matter jurisdiction over Plaintiff’s claims for

copyright infringement pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1338(a).

      3.      This court has personal jurisdiction over Defendant because

Defendant conducts business and/or resides within the State of Utah, Defendant’s

acts of infringement complained of herein occurred in the State of Utah, and

Defendant has committed the tortious act of infringement causing injury to

Plaintiff within the state of Utah.

      4.      Venue in this judicial district is proper under 28 U.S.C. § 1391(c) and

1400(a) in that this is the judicial district in which a substantial part of the acts and

omissions giving rise to the claims occurred. Alternatively, venue is also proper

pursuant to 28 U.S.C. § 1400(b) because the Defendant resides and has a regular

and established business in this judicial district.

                                         PARTIES

      5.      Plaintiff Robert Miller (“Plaintiff” or “Miller”) is a professional

photographer by trade residing in the City of New York in the State of New York.

      6.      Defendant Karmaholic Media, LLC (“Defendant”) is a Utah Limited

Liability Company headquartered in Salt Lake City, Utah. A true and correct

screenshot of the Utah Business Search Entity Details report is attached hereto as

Exhibit A.



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       7.     On information and belief, Defendant owns and operates various

websites.

       8.     Specifically,    Defendant   owns   and     operates   the   websites:

blackswanalert.com, marketarmor.com, and bestchartnow.com (the “Websites”).

True and correct screenshots for the Websites’ respective “Terms of Use” pages

are attached hereto as Exhibit B as proof of ownership.

       9.     On information and belief, Defendant leverages its Websites to sell

advertising by monetizing website views.

       10.    On information and belief, the Website monetizes views by directing

web traffic to its partner sites.

       11.    The homepage for blackswanalert.com states: “This page contains

links to products not offered by BLACKSWANALERT.COM. In exchange for

listing these links, we are likely to receive commission for purchases made

through these links.”         A true and correct copy of the homepage of

blackswanalert.com is attached hereto as Exhibit C.

       12.    Plaintiff is unaware of the true names and capacities of the

Defendants sued herein as DOES 1 through 10, inclusive, and for that reason, sues

such Defendants under such fictitious names. Plaintiff is informed and believes

and on that basis alleges that such fictitiously named Defendants are responsible

in some manner for the occurrences herein alleged, and that Plaintiff’s damages as



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herein alleged were proximately caused by the conduct of said Defendants.

Plaintiff will seek to amend the complaint when the names and capacities of such

fictitiously named Defendants are ascertained. As alleged herein, “Defendant”

shall mean all named Defendants and all fictitiously named Defendants.

       13.   For the purposes of this Complaint, unless otherwise indicated,

“Defendant” includes all agents, employees, officers, members, directors, heirs,

successors, assigns, principals, trustees, sureties, subrogates, representatives and

insurers       of       Defendants        named         in       this      caption.

                          FACTUAL ALLEGATIONS

       14.   Plaintiff Robert Miller is a professional photographer by trade.

Miller has licensed or sold his photographs to dozens of major media outlets such

as The New York Post, The New York Times, ABC News, Rolling Stone

Magazine, South China Morning Post, Agence France-Presse, Newsday, New

York Daily News, Newsweek Magazine, People Magazine, The Associated Press,

and USA Today.

       15.   Miller is the sole author and exclusive rights holder to a photograph

of an Unused Retail Space in Manhattan (“Manhattan Retail Image”). A true and

correct copy of the original Manhattan Retail Image is attached hereto as Exhibit

D.

       16.   Miller registered the Manhattan Retail Image with the United States



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Copyright Office under registration number VA 2-109-223 on June 26, 2018. A

true and correct copy of the registration certificate from the Library of Congress

Public Catalog is attached hereto as Exhibit E.

      17.    The Manhattan Retail Image originally appeared in an article featured

by the New York Post (“Post”) titled ‘The world’s hottest shopping city is

becoming a ghost town’ (“Post Article”). This article was published on April 7,

2018. A true and correct copy of the Post Article is attached hereto as Exhibit F.

      18.    The Post Article included a credit below the bottom left corner

attributing the image to Miller.

      19.    On or about April 12, 2018, Miller discovered that Defendant had

used the Manhattan Retail Image in an April 7, 2018 article on its Website titled

Retail real estate bubble turns Manhattan into a shopping (the “First Infringing

Article”). A true and correct screenshot of the First Infringing Article is attached

hereto as Exhibit G.

      20.    The First Infringing Article had a page web address of

https://marketarmor.com/2018/04/07/retail-real-estate-bubble-turns-manhattan-

into-a-shopping-wasteland/         and   an       image     web      address         of

https://marketarmor.com/wp-content/uploads/2018/04/su_0.png.

      21.    The First Infringing Article provided no credit to Miller for the

Image.



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      22.    On or about April 13, 2018, Miller discovered that Defendant had

used the Manhattan Retail Image in an April 7, 2018 article on its Website titled

Retail real estate bubble turns Manhattan into a shopping (the “Second Infringing

Article”).   A true and correct screenshot of the Second Infringing Article is

attached hereto as Exhibit H.

      23.    The Second Infringing Article had a page web address of

https://bestchartnow.com/2018/04/07/retail-real-estate-bubble-turns-manhattan-

into-a-shopping-wasteland/         and   an     image      web      address      of

https://bestchartnow.com/wp-content/uploads/2018/04/su_0.png.

      24.    The Second Infringing Article provided no credit to Miller for the

Image.

      25.    On or about April 13, 2018, Miller discovered that Defendant had

used the Manhattan Retail Image Image in an April 7, 2018 article on its Website

titled Retail real estate bubble turns Manhattan into a shopping (the “Third

Infringing Article”). A true and correct screenshot of the Third Infringing Article

is attached hereto as Exhibit I.

      26.    The Third Infringing Article had a page web address of

https://blackswanalert.com/2018/04/07/retail-real-estate-bubble-turns-manhattan-

into-a-shopping-wasteland/         and   an     image      web      address      of

https://blackswanalert.com/wp-content/uploads/2018/04/su_0.png.



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      27.    The Third Infringing Article provided no credit to Miller for the

Image.

      28.    On information and belief, Defendant made the unauthorized copy of

Miller’s Image by taking the image in each circumstance from the Post Article.

      29.    Plaintiff never authorized Defendant to use the Manhattan Retail

Image in any manner.

      30.    On information and belief, Defendant knew that they did not have

permission to use the Manhattan Retail Image on Defendant’s Websites and

willfully infringed Miller’s Manhattan Retail Image.

      31.    All together, Plaintiff is aware of Defendant infringing the

photograph three times on different websites on the day of initial publication by

the Post.

      32.    As infringing on a photograph, especially on the day of first

publication, is very serious, counsel for Plaintiff attempted to resolve this matter

by contacting Defendant.

      33.    In April 2018, Plaintiff’s counsel contacted Defendant to alert

Defendant to the issue in this complaint.

      34.    In May of 218, attorney for Defendant contacted counsel for Plaintiff

via email.

      35.    Both parties had extended discussions and agreed upon an amicable



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resolution.

      36.     However, the Defendant has failed to follow through on an amicable

agreement which was reached, and so Plaintiff has been forced to file a complaint

for copyright infringement.

      37.     The agreement reached would provide a limited license to Defendant

for payment of a disclosed sum of money.

      38.     However, no license whatsoever was provided to Defendant as the

money was never paid.

                          FIRST CAUSE OF ACTION
                         COPYRIGHT INFRINGEMENT
                             17 U.S.C. § 101 et seq

      39.     Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

      40.     Plaintiff did not consent to, authorize, permit, or allow in any manner

the said use of Plaintiff’s unique and original Manhattan Retail Image.

      41.     Plaintiff is informed and believes and thereon alleges that the

Defendant willfully infringed upon Plaintiff’s copyrighted Manhattain Retail

Image in violation of Title 17 of the U.S. Code, in that it used, published,

communicated, posted, publicized, and otherwise held out to the public for

commercial benefit, the original and unique Image of the Plaintiff without

Plaintiff’s consent or authority, by using it in the Infringing Articles on



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Defendant’s Websites three separate times.

      42.    As a result of Defendant’s violations of Title 17 of the U.S. Code,

Plaintiff is entitled to any actual damages pursuant to 17 U.S.C. §504(b), or

statutory damages in an amount up to $150,000.00 pursuant to 17 U.S.C. § 504(c),

for each violation.

      43.    As a result of the Defendants’ violations of Title 17 of the U.S. Code,

the court in its discretion may allow the recovery of full costs as well as

reasonable attorney’s fees and costs pursuant to 17 U.S.C § 505 from Defendants.

      44.    Plaintiff is also entitled to injunctive relief to prevent or restrain

infringement of his copyright pursuant to 17 U.S.C. § 502.

                  SECOND CAUSE OF ACTION
   FALSIFICATION, REMOVAL AND ALTERATION OF COPYRIGHT
                MANAGEMENT INFORMATION
                       17 U.S.C. § 1202

      45.   Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

      46.    On information and belief, Defendant knew that Plaintiff created the

Manhattan Retail Image because, inter alia, the source of the Manhattan Retail

Image, i.e. the Post Article, specifically attributed the Image to Plaintiff.

      47.    Defendant intentionally falsified copyright management information

related to the Manhattan Retail Image three different times with the intent to

induce, enable, facilitate, or conceal an infringement of Plaintiff’s rights under the

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Copyright Act. Specifically, Defendant purposefully failed to credit Plaintiff in

order to mislead the public into believing that Defendant either owned the Image

or had legitimately licensed it for use in the Infringing Articles.

      48.      Defendant’s conduct constitutes 3 violations of 17 U.S.C. § 1202(a),

and 1202(b).

      49.      Defendant’s falsification, removal and/or alteration of that copyright

management       information    was   done     without   Plaintiff’s   knowledge   or

authorization.

      50.      Defendant’s falsification of said copyright management information

was done by Defendant intentionally, knowingly, and with the intent to induce,

enable, facilitate, or conceal Defendant’s infringement of Plaintiff’s copyright in

the Image. Defendant also knew, or had reason to know, that such removal and/or

alteration of copyright management information would induce, enable, facilitate,

or conceal Defendant’s infringement of Plaintiff’s copyright in the Image.

      51.      Plaintiff has sustained significant injury and monetary damages as a

result of Defendant’s wrongful acts as hereinabove alleged, and as a result of

being involuntarily associated with Defendant in an amount to be proven.

      52.      In the alternative, Plaintiff may elect to recover statutory damages

pursuant to 17 U.S.C. § 1203(c)(3) in a sum of not more than $25,000 from

Defendant for each violation of 17 U.S.C. § 1202.



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                            PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

  • For statutory damages against Defendants in an amount up to $150,000.00

     for each infringement pursuant to 17 U.S.C. § 504(c), or, alternatively at

     Plaintiff’s election, for actual damages and disgorgement of profits, under

     17 U.S.C. §504(a)(1);

  • For statutory damages against Defendant pursuant to 17 U.S.C. §

     1203(c)(3) in a sum of not more than $25,000 for each violation

     of 17 U.S.C. § 1202;

  • For general and special damages against Defendants according to proof

     together with interest thereon at the maximum legal rate;

  • For costs of litigation and reasonable attorney’s fees against Defendants

     pursuant to 17 U.S.C. § 505;

  • For an injunction preventing Defendants from further infringement of all

     copyrighted works of the Plaintiff pursuant to 17 U.S.C. § 502; and

  • For any other relief the Court deems just and proper.



Dated: November 3, 2020                     Respectfully submitted,




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                                            /s/ Mathew K. Higbee
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                        DEMAND FOR JURY TRIAL

     Plaintiff, Robert Miller, hereby demands a trial by jury in the above matter.



Dated: November 3, 2020                      Respectfully submitted,


                                                    /s/ Mathew K. Higbee
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